                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION
                               Case No. 5:19-cv-00475-BO

JASON WILLIAMS,                                   MOTION TO WITHDRAW AS
                 Plaintiff,                       COUNSEL
         v.

AT&T MOBILITY, LLC,
                 Defendant.


        Now comes Thomas Popejoy, Esq., an attorney with the law firm of Pierce Bainbridge Beck

Price & Hecht LLP, and hereby moves to withdraw as counsel for the plaintiff in this action. No

scheduled hearing or trial will be delayed by the withdrawal of Mr. Popejoy.

        After April 1, 2020, Mr. Popejoy will no longer be associated with Pierce Bainbridge Beck

Price & Hecht LLP. Notwithstanding Mr. Popejoy’s departure, Christopher LaVigne, Patrick A.

Bradford, and William Geraci of the law firm of Pierce Bainbridge Beck Price & Hecht LLP, will

continue to represent the plaintiff in this action, and Terence S. Reynolds and Lucas D. Garber of the

law firm of Shumaker Loop & Kendrick LLP, shall continue to serve as Local Civil Rule 83.1

Counsel for the plaintiff in this action.

        Accordingly, Thomas Popejoy respectfully requests that the Court grant his leave to withdraw

as counsel and grant such other relief as the Court deems appropriate. Counsel for the defendant has

consented to this motion.

        [Signature Page Follows]




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                           /s/ Thomas Popejoy
                           Thomas Popejoy
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                           Attorney for Plaintiff Jason Williams

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                           Local Civil Rule 83.1(d) Counsel for Plaintiff Jason
                           Williams




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, April 1, 2020, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

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Counsel for Defendant AT&T Mobility, LLC


Dated: April 1, 2020

                                                  /s/ Terence S. Reynolds
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                                                  Local Civil Rule 83.1(d) Counsel for Plaintiff
                                                  Jason Williams




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